










NO. 07-08-0470-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL D

MARCH 13, 2009
______________________________

BRITTEN CHEYNE, APPELLANT

V.

TONYA MCWILLIAMS, APPELLEE
_________________________________

FROM THE COUNTY COURT AT LAW NO. 1 OF POTTER COUNTY;

NO. 93,790-1; HONORABLE W. F. “CORKY” ROBERTS, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
ON MOTION TO DISMISS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is a motion of appellant Britten Cheyne, indicating
appellant desires to dismiss the appeal pursuant to Rule 42.1 of the Texas Rules of
Appellate Procedure.  No decision of this Court having been delivered to date in the appeal
and finding the motion complies with the requirements of Rule 42.1(a), we grant the
motion.  The appeal is dismissed. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having disposed of this appeal at the appellant’s request, we will not entertain a
motion for rehearing and our mandate shall issue forthwith.
&nbsp;
James T. Campbell

Justice


